
USCA1 Opinion

	




                                [NOT FOR PUBLICATION]                                 ___________________        No. 94-1363                                 JERRY WILLIAM WEBER,                                Plaintiff, Appellant,                                          v.                                 MARTIN A. MAGNUSSON,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                   [Hon. Eugene W. Beaulieu, U.S. Magistrate Judge]                                             _____________________                                 ____________________                                        Before                                Selya, Cyr and Boudin,                                   Circuit Judges.                                   ______________                                 ____________________            Jerry William Weber on brief pro se.            ___________________            Michael   E.  Carpenter,   Attorney  General,   and  Diane  Sleek,            _______________________                              ____________        Assistant Attorney General, on brief for appellee.                                 ____________________                                  September 2, 1994                                 ____________________                      Per  Curiam.    Plaintiff-appellant  Jerry  William                      ___________            Weber,  a Maine  inmate,  filed a  pro  se complaint  in  the            district court, pursuant to 42  U.S.C.   1983, against Martin            A.  Magnusson, the  warden of  the Maine  State Prison.   The            complaint alleges violations of  Weber's right to free speech            under  the First Amendment and to  equal protection under the            Fourteenth Amendment.  Appellee  Magnusson filed a motion for            summary judgment with respect  to both claims.  On  March 16,            1994,  a magistrate  judge ("magistrate")  granted appellee's            motion in its entirety.  This appeal followed.                      We  have reviewed the briefs of the parties and the            record on appeal.  We affirm the grant of summary judgment in            favor of appellee  on the free  speech claim for  essentially            the reasons stated  by the  magistrate.  We  also affirm  the            grant of summary judgment  in favor of appellee on  the equal            protection claim.  Based on the undisputed facts, we think it            is plain that the challenged regulation is reasonably related            to a legitimate penal interest.  Moreover, to the extent that            Weber's  affidavit and  documentary evidence  raise  an issue            whether  child  molesters  as   a  group  are  being  treated            differently  from murderers  by prison  officials, they  also            demonstrate  that  the  explanation  for this  difference  in            treatment  is  rational  and  reasonably  related to  Maine's            proper interest in protecting the security of inmates.  Under            the circumstances,  appellee is  entitled to judgment  on the                                         -2-            equal protection  claim as a  matter of  law.   See O'Bar  v.                                                            ___ _____            Pinion, 953  F.2d  74, 81  (4th  Cir. 1991)  (observing  that            ______            "[t]he  state   may  apply  the  law   differently  based  on            distinctive  factual  circumstances  if  the  distinction  is            rationally related to a legitimate governmental purpose").                       Affirmed.                      _________                                         -3-

